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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: January 9, 2020

* * * * * * *                   *   *    * *  *   *
STEPHEN KAISER,                            *              Unpublished
                                           *
             Petitioner,                   *              No. 17-1099V
                                           *
v.                                         *              Special Master Gowen
                                           *
SECRETARY OF HEALTH                        *              Stipulation for Award; Influenza
AND HUMAN SERVICES,                        *              (“flu”) Vaccine; Guillain-Barré
                                           *              Syndrome (“GBS”).
             Respondent.                   *
* * * * * * * * * * * * *
John R. Howie, Jr., Howie Law, PC, Dallas, TX, for petitioner.
Sarah C. Duncan, U.S. Dept. of Justice, Washington, D.C., for respondent.

                                     DECISION FOR STIPULATION1

       On August 15, 2017, Stephen Kaiser (“petitioner”), filed a petition for compensation
under the National Vaccine Injury Program.2 Petition (ECF No. 1). Petitioner received an
influenza (“flu”) vaccine on October 29, 2015. Petition at Preamble; Stipulation at ¶ 2 (ECF No.
51). Petitioner alleged that as a result of receiving the flu vaccination, he suffered Guillain-Barré
Syndrome (“GBS”). Petition at Preamble; Stipulation at ¶ 4.

         On January 9, 2020, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation at ¶ 7. Respondent denies that the flu
vaccine is the cause of petitioner’s alleged injuries, or any other injury or his current condition.
Id. at ¶ 6. Nevertheless, maintaining their respective positions, the parties now agree that the
issues between them shall be settled and that a decision should be entered awarding the

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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compensation to petitioner according to the terms of the stipulation attached hereto as Appendix
A. Id. at ¶ 7.

The stipulation provides:

        1) A lump sum of $30,000.00, which amount represents compensation for pain and
           suffering, past unreimbursable expenses, and past lost earnings, in the form of a
           check payable to the petitioner. This amount represents compensation for all
           damages that would be available under 42 U.S.C. § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The Clerk of the Court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                                               s/Thomas L. Gowen
                                                                               Thomas L. Gowen
                                                                               Special Master




3
 Entry of judgment is expediated by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                         2
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